Case 2:10-md-02179-CJB-DPC Document 7110-2 Filed 08/13/12 Page 1 of 10




                    Joint Exhibit B
Case 2:10-md-02179-CJB-DPC Document 7110-2 Filed 08/13/12 Page 2 of 10
Case 2:10-md-02179-CJB-DPC Document 7110-2 Filed 08/13/12 Page 3 of 10
Case 2:10-md-02179-CJB-DPC Document 7110-2 Filed 08/13/12 Page 4 of 10
Case 2:10-md-02179-CJB-DPC Document 7110-2 Filed 08/13/12 Page 5 of 10
Case 2:10-md-02179-CJB-DPC Document 7110-2 Filed 08/13/12 Page 6 of 10
Case 2:10-md-02179-CJB-DPC Document 7110-2 Filed 08/13/12 Page 7 of 10
Case 2:10-md-02179-CJB-DPC Document 7110-2 Filed 08/13/12 Page 8 of 10
Case 2:10-md-02179-CJB-DPC Document 7110-2 Filed 08/13/12 Page 9 of 10
Case 2:10-md-02179-CJB-DPC Document 7110-2 Filed 08/13/12 Page 10 of 10
